                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 SECURITIES and EXCHANGE COMMISSION,                   )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )
                                                               No. 09-0470-CV-W-DW
                                                       )
 HORST W. SCHROEDER,                                   )
                                                       )
                Defendant.                             )


                                             ORDER

       The Securities and Exchange Commission having filed a Complaint and Defendant Horst

W. Schroeder ("Defendant") having entered a general appearance; consented to the Court's

jurisdiction over Defendant and the subject matter of this action; consented to entry of this Final

Judgment without admitting or denying the allegations of the Complaint (except as to

jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal

from this Final Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant and

Defendant's agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section

17(a)(3) of the Securities Act of 1933 (the "Securities Act") [15 U.S.C. § 77q(a)(3)] by using any

means or instrumentality of transportation or communication in interstate commerce, or of the

mails, in the offer or sale of any securities or any security-based swap agreement, to engage in




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any transaction, practice, or course of business which operates or would operate as a fraud or

deceit upon the purchaser.

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant's agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Rule

13b2-1 [17 C.F.R. § 240.13b2-1] promulgated under the Securities Exchange Act of 1934 (the

"Exchange Act") by falsifying or causing to be falsified any book, record or account subject to

Section 13(b)(2)(A) of the Exchange Act.

                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant's agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from aiding and abetting any violations of

Sections 13(a) and 13(b)(2)(A) of the Exchange Act [15 U.S.C. §§ 78m(a) and 78m(b)(2)(A)]

and Rules 12b-20, 13a-1, 13a-11, and 13a-13 thereunder [17 C.F.R. §§ 240.12b-20, 240.13a-1,

240.13a-11, and 240.13a-13] by knowingly providing substantial assistance to an issuer that:

       (a)      fails to file with the Commission any report or statement required to be filed with

                the Commission pursuant to Section 13(a) of the Exchange Act and the rules and

                regulations promulgated thereunder, or information and documents required by

                the Commission to keep reasonably current the information and documents


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                required to be included in or filed with an application or registration statement

                filed pursuant to Section 12 of the Exchange Act;

       (b)      fails, in addition to the information expressly required to be included in a

                statement or report, to add such further material information as is necessary to

                make the required statements, in the light of the circumstances under which they

                were made not misleading; and

       (c)      fails to make and keep books, records, and accounts, which, in reasonable detail,

                accurately and fairly reflect the transactions and dispositions of assets of the

                issuer.

                                                 IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

shall pay a civil penalty in the amount of $50,000 pursuant to Section 20(d) of the Securities Act

[15 U.S.C. § 77v(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].

Defendant shall satisfy this obligation by paying $50,000 within ten (10) business days after entry

of this Final Judgment by certified check, bank cashier's check, or United States postal money

order payable to the Securities and Exchange Commission. The payment shall be delivered or

mailed to the Office of Financial Management, Securities and Exchange Commission,

Operations Center, 6432 General Green Way, Mail Stop 0-3, Alexandria, Virginia 22312, and

shall be accompanied by a letter identifying Horst W. Schroeder as a defendant in this action;

setting forth the title and civil action number of this action and the name of this Court; and

specifying that payment is being made pursuant to this Final Judgment; a copy of such letter shall

be delivered or mailed to Ian S. Karpel, Securities and Exchange Commission, 1801 California


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Street, Suite 1500, Denver, Colorado, 80202. Defendant shall pay post-judgment interest on any

delinquent amount pursuant to 28 U.S.C. § 1961. The Commission shall remit the funds paid

pursuant to this paragraph to the United States Treasury.

                                                  V.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth herein, and that

Defendant shall comply with all of the undertakings and agreements set forth therein.

                                                 VI.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

Judgment.




 Date:      July 14, 2009                                         /s/ Dean Whipple
                                                                       Dean Whipple
                                                                United States District Judge




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